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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

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In re:                                                  Case No. 08-14631(GMB)

SHAPES/ARCH HOLDINGS L.L.C., et al.,                    Judge: Gloria M. Burns

               Debtors.                                 Chapter: 11



            ORDER AUTHORIZING THE DEBTORS TO RETAIN, EMPLOY
             AND COMPENSATE PROFESSIONALS IN THE ORDINARY
                 COURSE NUNC PRO TUNC TO MARCH 16, 2008

The relief set forth on the following pages, numbered two (2) through six (6) is hereby
ORDERED.
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           Upon consideration the verified motion (the “Motion”)1 of the above-captioned debtors

and debtors-in-possession (the “Debtors”), for an Order authorizing the Debtors to retain, employ

and compensate the Ordinary Course Professionals for specific services and authorizing payment

of fees and expenses to professionals in the ordinary course; and notice being sufficient under the

circumstances; and such relief being necessary to assure that operation of the Debtors’

businesses will not be disrupted, it is ORDERED:

           1.       That the Motion is GRANTED.

           2.       That the Debtors are authorized to retain, employ and compensate the Ordinary

Course Professionals set forth on Exhibit “A” to the Motion nunc pro tunc to March 16, 2008.


           3.       That, without formal application to this Court by any Ordinary Course

Professional or by the Debtors, the Ordinary Course Professionals can be compensated on a

monthly basis 100% of their fees and expenses in the manner such Ordinary Course Professional

is customarily compensated by the Debtors. The Debtors shall not provide any such

compensation unless they receive reasonably detailed invoices indicating the nature of the

services rendered and calculated in accordance with such Ordinary Course Professionals’

standard billing practices (without prejudice to the Debtors’ customary rights to dispute any such

invoices and subject to the additional limitations set forth below).The Debtors propose that they

be permitted to pay, without formal application to the Court by any Ordinary Course


1
    Unless otherwise defined herein, all capitalized terms shall have the meanings ascribed to them in the Motion.



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Professional, 100% of the interim fees and disbursements to each of the Ordinary Course

Professionals upon the submission to the Debtors of reasonably detailed invoices setting forth the

nature of the services rendered and calculated in accordance with such Ordinary Course

Professional’s standard billing practices. Within five days of the Debtors’ counsel’s receipt of an

invoice from an Ordinary Course Professional, the Debtors’ counsel shall serve the invoice upon:

(a) counsel for the Lender Group, (b) counsel for Versa, (c) the Office of the United States

Trustee, (d) counsel for the Committee, and (e) all parties on the Master Service List (the “Notice

Parties”).


         4.      That each Ordinary Course Professional may be paid interim fees and expense

reimbursements up to an average of $5,000 per month, but no more than a total of $25,000

during the pendency of these cases.

         5.      That if the total fees and expense reimbursements for any one Ordinary Course

Professional exceeds $25,000 during the pendency of these cases, such Ordinary Course

Professional shall be required to apply for approval by the Court, in accordance with Sections

330 and 331 of the Bankruptcy Code, of all such Ordinary Course Professional’s fees and

expenses. Such Ordinary Course Professional shall, however, be entitled to an interim payment

of up to $5,000 per month of service, consistent with paragraph 4 above, as a credit against the

fees and expenses for such month ultimately allowed by this Court.

         6.      That the Debtors are authorized to retain Contingency Fee Attorneys in the

ordinary course of business to assist in collecting outstanding accounts receivable. Contingency



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fees earned by the Contingency Fee Attorneys shall not be subject to the monthly limits set forth

in paragraph 4, above.

         7.      That nothing in the Motion or this Order precludes the Debtors from seeking

authority from this Court to increase the limitation on monthly payments to each Ordinary

Course Professional or all Ordinary Course Professionals in the aggregate, or from seeking to

amend the list of Ordinary Course Professionals that are subject to the terms of this Order.

         8.      That the Debtors may supplement the list of Ordinary Course Professionals by

filing a Supplement with this Court and serving it upon (a) counsel for the Lender Group, (b)

counsel for Versa, (c) the Office of the United States Trustee, (d) counsel for the Committee, if

appointed, and if none appointed, the Debtors’ consolidated list of top 30 unsecured creditors

(but no less than the five largest unsecured creditors from each case) and (e) the Master Service

List.

         9.      That each Ordinary Course Professional shall file with the Court: (a) an Affidavit

that complies with Bankruptcy Rule 2014 and is substantially in the form of Exhibit “B” to the

Motion and (b) a Retention Questionnaire substantially in the form of Exhibit “C” to the Motion

and serve them upon: (i) the United States Trustee, (ii) counsel to the Committee, if appointed,

and if none appointed, the Debtors’ consolidated list of top 30 unsecured creditors (but not less

than the five largest unsecured creditors from each case), (iii) counsel to the Debtors’ pre- and

post-petition secured lenders, (iv) counsel to the Debtors, and (v) parties on the Master Service

List prior to receiving payment under this Order.




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         10.     That any party in interest shall have ten days after service of each Ordinary

Course Professional’s Affidavit and Retention Questionnaire (the “Objection Deadline”) to

object to the retention of such Ordinary Course Professional, and any such objection shall be

filed with the Court and served upon the Debtors and their counsel, the Ordinary Course

Professional and the United States Trustee on or before the Objection Deadline. If any such

objection cannot be resolved within ten days after it is filed with the Court, the matter shall be

scheduled for a hearing before the Court at the next regularly scheduled hearing date or other

date otherwise agreeable to the Ordinary Course Professional, the Debtors and the objecting

party.

         11.     That if no objection is filed within ten days after an Ordinary Course Professional

filed the Affidavit and Retention Questionnaire, the Debtors shall be authorized to retain such

Ordinary Course Professional as a final matter without further Order of this Court.

         12.     That the Debtors are authorized and empowered to take such actions as may be

necessary and appropriate to implement the terms of this Order.

         13.     That the Debtors shall file quarterly statements with this Court and serve such

statements on the Office of the United States Trustee, beginning three months from the date

hereof, and such statements shall include the following information for each Ordinary Course

Professional: (a) the name of such Ordinary Course Professional; (b) the aggregate amount paid

to such Ordinary Course Professional during the previous 90 days; and (c) a general description

of the services rendered by each Ordinary Course Professional (the “Quarterly Statements”).




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The Debtors shall file a final statement incorporating all Quarterly Statements within the time

established for professionals to file their final fee applications (the “Final Statement”). The Final

Statement shall be served upon the Notice Parties and the Notice Parties shall have 20 days to

file an objection pursuant to 11 U.S.C. § 330 with the Court.




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